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                EXHIBIT 1
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                            Firm Resume
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Firm Overview
Gustafson Gluek PLLC is an 18-attorney law firm with a national practice
specializing in complex litigation. We have offices in Minneapolis, Minnesota and
San Diego, California. At Gustafson Gluek, we seek to vindicate the rights of,
and recover damages for, those harmed by unfair business practices such as
illegal price fixing, deceptive trade practices, and the distribution of unsafe
medical devices, as well as enjoin companies from engaging in these types of
practices in the future.

Founded in 2003, Gustafson Gluek’s attorneys have consistently been
recognized by their clients, peers, and courts across the country as leaders in
their fields and, as such, have been chosen to lead some of the largest and
most complex multi-district litigations. Attorneys at Gustafson Gluek have
received national and state-wide awards and honors, and are routinely called
upon by other leading firms to assist in taking on some of the largest companies
and defense firms in the world. Gustafson Gluek was named in the Top 25 Lead
Counsel in Antitrust Complaints filed from 2009 – 2019 in the 2019 Antitrust Annual
Report produced by the University of San Francisco Law School and The
Huntington National Bank. We were also listed as number seven in the list of firms
who have filed antitrust cases, having filed 190 antitrust actions during that same
time period. Also, according to that same report, in that 2009-2019 time period,
Gustafson Gluek helped recover over $707 million for class members in 48
different antitrust cases.

Gustafson Gluek strongly believes in giving back to the community and
promoting diversity in the legal profession. Its attorneys have held leadership
positions and actively participate in numerous national, state and affinity legal
organizations, including the Federal Bar Association, Minnesota State Bar
Association, the Infinity Project, Minnesota Women Lawyers, Minnesota Asian
Pacific American Bar Association, and American Antitrust Institute. Gustafson
Gluek was instrumental in founding the Pro Se Project, a collaboration with the
Minnesota District Court pairing indigent federal litigants with attorneys and
Gustafson Gluek devote hundreds of hours each year to pro bono service
through the Pro Se Project and other organizations.

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Leadership Positions
Gustafson Gluek’s attorneys are frequently recognized by their peers and the
Courts as experienced and capable leaders and, as such, have been
appointed to lead numerous complex litigations including the following:

In re Google Digital Publisher Antitrust Litig. (N.D. Cal.)
Plaintiffs’ Leadership Committee

In re Interior Molded Doors Indirect Purchaser Antitrust Litig. (E.D. Va.)
Co-Lead Counsel

In re Pork Antitrust Litig. (D. Minn.)
Co-Lead Counsel for Consumer Indirect Purchaser Plaintiffs

In re: 3M Combat Arms Earplug Litig. (Minn.)
Co-Lead Counsel

In re DPP Beef Litig. (D. Minn.)
Co-Lead Counsel

In re Dealer Management Systems Antitrust Litig. (N.D. Ill.)
Plaintiffs’ Steering Committee


In re CenturyLink Residential Customer Billing Disputes Litig. (D. Minn.)
Executive Committee Chair


In re Syngenta Litig. (Minn.)
Co-Lead Class Counsel


In re Broiler Chicken Antitrust Litig. (N.D. Ill.)
Co-Lead Counsel for Commercial and Institutional Indirect Purchaser Plaintiffs


Vikram Bhatia, D.D.S., et al., v. 3M Company (D. Minn.)
Co-Lead Counsel



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In re Medtronic, Inc. Sprint Fidelis Leads Products Liability Litig. (D. Minn.)
Lead Counsel


In re DRAM Antitrust Litig. (N.D. Cal. and multiple state court actions)
Co-Lead Counsel for Indirect Purchasers


In re Medtronic, Inc. Implantable Defibrillators Products Liability Litig. (D. Minn.)
Co-Lead Counsel


St. Barnabas Hospital, Inc. et al. v. Lundbeck, Inc. et al. (D. Minn.)
Interim Class Counsel


In re Vitamin C Antitrust Litig. (E.D.N.Y.)
Co-Lead Counsel for Indirect Purchasers


In re Flash Memory Antitrust Litig. (N.D. Cal.)
Plaintiffs’ Steering Committee


Precision Assocs., Inc. v. Panalpina World Transport (Holding) Ltd. (E.D.N.Y.)
Co-Lead Counsel




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Case Outcomes
Gustafson Gluek has recovered billions of dollars on behalf of its clients since its
founding in 2003. At Gustafson Gluek, we seek to vindicate the rights of, and
recover damages for, those harmed by unfair business practices such as illegal
price fixing, deceptive trade practices, and the distribution of unsafe or
defective devices, as well as enjoin companies from engaging in these types of
practices in the future. A list of representative cases we have previously litigated
and the outcomes of those cases is set forth below.

ANTITRUST


In re Automotive Parts Antitrust Litigation (E.D. Mich.)
Gustafson Gluek was an integral part of the team representing a class of indirect
purchases of various automotive components. Plaintiffs alleged that the
defendants engaged in a sprawling price fixing conspiracy to artificially increase
the price of several different automobile components. Gustafson Gluek helped
recover over $604 million for the class.


In re Capacitors Antitrust Litigation (N.D. Cal.)
Gustafson Gluek represented a class of indirect purchasers of electrolytic or film
capacitors. Plaintiffs alleged that at least fifteen multinational corporations
conspired to fix the prices of capacitors that they manufactured and sold
worldwide and into the United States. Gustafson Gluek attorneys worked closely
with Lead Counsel throughout the litigation, which eventually recovered $84.49
million for the class.




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In re Cathode Ray Tube (CRT) Antitrust Litigation (N.D. Cal.)
Gustafson Gluek represented a class of direct purchasers of CRT screens used for
computer monitors and televisions. Plaintiffs alleged that defendants conspired
to fix the price of these products in violation of the antitrust laws. Gustafson
Gluek had a significant discovery role in the prosecution of this antitrust class
action, which resulted in settlements totaling $225 million for the class.


In re DRAM Antitrust Litigation (N.D. Cal. and multiple state court actions)
Gustafson Gluek was appointed Co-Lead Counsel for the indirect purchasers in
this nationwide class action against both national and international memory-
chip manufacturers. This case dealt with the conspiracy surrounding the pricing
of the memory chips commonly known as Dynamic Random Access Memory (or
DRAM). DRAM is used in thousands of devices on a daily basis, and Gustafson
Gluek was integral in achieving a settlement of $310 million for the class.


In re Domestic Drywall Antitrust Litigation (E.D. Pa.)
Gustafson Gluek represented a class of direct purchasers of drywall in this
antitrust case. Plaintiffs alleged that the defendant manufacturers conspired to
artificially increase the price of drywall. Gustafson Gluek played an active role
in the litigation. A class was certified, and Gustafson Gluek helped recover over
$190 million for the class.


In re Containerboard Antitrust Litigation (N.D. Ill.)
Gustafson Gluek represented a class of direct purchasers of containerboard
products and was a defendant team leader. Plaintiffs alleged that defendant
containerboard manufacturers conspired to fix the price of containerboard. As
team leader, Gustafson Gluek handled all aspects of discovery, including the
depositions of several senior executives. Gustafson Gluek helped to secure over
$376 million for the class.




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In re Lithium Ion Batteries Antitrust Litigation (N.D. Cal.)
Gustafson Gluek represented a class of direct purchasers of lithium ion batteries
in a multidistrict class action. Plaintiffs alleged collusive activity by the world’s
largest manufacturers of lithium ion batteries, which are used in everything from
cellular phones to cameras, laptops and tablet computers. Gustafson Gluek
had a significant discovery role in the prosecution of this antitrust class and
helped recover over $139 million for the class.


Precision Associates, Inc., et al. v. Panalpina World Transport (Holding) Ltd., et al.
(E.D.N.Y.)
Gustafson Gluek was Co-Lead Counsel representing a class of direct purchasers
of freight forwarding services in this international case against 68 defendants.
Plaintiffs alleged that defendants engaged in an international conspiracy to fix,
inflate, and maintain various charges and surcharges for freight forwarding
services in violation of U.S. antitrust laws. Gustafson Gluek worked to secure over
$450 million for the class.


In re Resistors Antitrust Litigation (N.D. Cal.)
Gustafson Gluek worked closely with Lead Counsel representing indirect
purchasers of linear resistors. Plaintiffs alleged that the defendant manufacturers
conspired to increase the price of linear resistors, thereby causing indirect
purchasers to pay more. After engaging in extensive discovery, Plaintiffs
recovered a total of $33.4 million in settlements for the indirect purchaser class.


In re TFT-LCD (Flat Panel) Antitrust Litigation (N.D. Cal.)
Gustafson Gluek served an integral role handling complex discovery issues in this
antitrust action representing individuals and entities that purchased LCD panels
at supracompetitive prices. Gustafson Gluek attorneys worked on a range of
domestic and foreign discovery matters in prosecuting this case. The total
settlement amount with all of the defendants was over $1.1 billion.




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CONSUMER PROTECTION


Syngenta Corn Seed Litigation (Minn. & D. Kan.)
Gustafson Gluek was appointed Co-Lead Counsel for the class of Minnesota
corn farmers suing Syngenta for negligently marketing its Agrisure/Viptera corn
seed before it had been approved in all of the major corn markets. Gustafson
Gluek was an integral part of the litigation team in Minnesota, participating in all
facets of discovery, motion practice and expert work. Dan Gustafson was one
of the lead trial counsel and was also appointed as part of the settlement team.
Ultimately, these cases settled for $1.51 billion on behalf of all corn farmers in
America.


In re Centurylink Sales Practices and Securities Litigation (D. Minn.)
Gustafson Gluek was Chair of the Executive Committee and represented a class
of current and former CenturyLink customers who paid too much for their
phone, internet or television services due to CenturyLink’s unlawful
conduct. Plaintiffs alleged that CenturyLink engaged in deceptive marketing,
sales, and billing practices across the dozens of states in which it does business
by: (1) promising a discount or promotion that was never applied; (2) charging
more for services than it advertised or otherwise promised; (3) charging for
services it did not provide; (4) charging for services customers did not request;
(5) charging undisclosed or higher-than-agreed upon fees; (6) charging
improper terminations fees; and (7) putting customers into collections as a result
of unpaid overcharges. Ultimately, Plaintiffs recovered $18.5 million in
settlements for this class.


Yarrington, et al. v. Solvay Pharmaceuticals, Inc. (D. Minn.)
Gustafson Gluek represented a class of individuals alleging unfair competition
and false and deceptive advertising claims against Solvay Pharmaceuticals in
the marketing of Estratest and Estratest HS, prescription hormone therapy drugs.
Gustafson Gluek helped recover $16.5 million for the class.




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SECURITIES


St. Paul Travelers Securities Litigation I and II (D. Minn.)
Gustafson Gluek served as liaison counsel in both of the St. Paul Travelers
Securities Litigations. At issue in the cases were public statements as well as
material omissions St. Paul Travelers made that negatively impacted the stock
prices of the Company. On behalf of New Mexico State Funds, Gustafson Gluek
worked to litigate the two separate class actions against St. Paul Travelers,
resulting in multi-million-dollar settlements.


Smith v. Questar Capital Corp., et al. (D. Minn.)
Gustafson Gluek represented a class of investors who were defrauded in a Ponzi
scheme by a brokerage firm that sold bonds to sustain an entity that had
collapsed into bankruptcy. Gustafson Gluek helped recover $3 million for the
class of 125 investors.


PRODUCT LIABILITY

Bhatia v. 3M Co. (D. Minn.)
Gustafson Gluek represented a class of dentists who bought 3M Lava Ultimate
Restorative material for use in dental crowns. Gustafson Gluek was appointed as
Co-Lead Counsel for Plaintiffs, who alleged that the 3M Lava material failed at
an unprecedented rate, leading to substantial loss of time and money for the
dentists and injury to the patients. Gustafson Gluek helped secure a settlement
of approximately $50 million for all of the dentists who had suffered damages
from the failure of this product.




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Medtronic, Inc., Sprint Fidelis Leads Products Liability Litigation (D. Minn.)
Gustafson Gluek was Lead Counsel representing Plaintiffs, who had Medtronic’s
Sprint Fidelis Leads implanted in them. Plaintiffs alleged that Medtronic’s Sprint
Fidelis Leads contained serious defects that cause the leads to fracture, resulting
in unnecessary shocks. Ultimately, these cases settled for over $200 million on
behalf of thousands of injured claimants who participated in the settlement. The
settlement included a seven year claim period in which individuals who were
registered to participate in the settlement could make a claim if their device
failed or was removed within that time period for reasons related to the alleged
defect.


Medtronic, Inc. Implantable Defibrillators Products Liability Litigation (D. Minn.)
Gustafson Gluek was appointed Co-Lead Counsel in this MDL representing
individuals, who were implanted with certain implantable defibrillators
manufactured by Medtronic, Inc. Plaintiffs alleged that these certain
Medtronic’s implantable cardioverter defibrillators (ICDs), and cardiac
resynchronization therapy defibrillators (CRT-Ds) contained serious battery
defects, which resulted in a recall of the products at issue. Plaintiffs alleged that
Medtronic, Inc. knew about this defect, intentionally withheld important
information from the FDA and the public and continued to sell the devices for
implantation into patients facing life-threatening heart conditions. Gustafson
Gluek, in its role as Co-Lead Counsel, helped secure a settlement of
approximately $100 million dollars for claimants who participated in the
settlement.




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INTELLECTUAL PROPERTY & PATENT MISUSE

Augmentin Litigation (E.D. Va.)
Gustafson Gluek represented a class of direct purchasers of the pharmaceutical
drug, Augmentin. Plaintiffs alleged that defendant GlaxoSmithKline violated the
antitrust laws by unlawfully maintaining its monopoly over Augmentin and
preventing the entry of generic equivalents. Gustafson Gluek helped recover
$62.5 million for the class.


Dryer, et al., v. National Football League (D. Minn.)
The U.S. District Court for the District of Minnesota appointed Gustafson Gluek
Lead Settlement Counsel in Dryer v. NFL. In that capacity, Gustafson Gluek
represented a class of retired NFL players in protecting their rights to the use of
their likenesses in marketing and advertising. Gustafson Gluek helped secure a
settlement with the NFL that created unprecedented avenues of revenue
generation for the class.


Spine Solutions, Inc., et al. v. Medtronic Sofamore Danek, Inc., et al. (W.D. Tenn.)
Gustafson Gluek was one of the counsel representing the plaintiff, Spine
Solutions, Inc. and Synthes Spine So., L.P.P., in a patent litigation against
Medtronic Safamor Danek, Inc. and Medtronic Sofamor Donek, USA. The patent
at issue in that case involved technology relating to spinal disc implants. This
case went to trial in November 2008 and a jury verdict was returned in favor of
our clients. The jury found willful infringements and awarded both lost profits and
reasonable royalty damages to our clients.




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In re Wellbutrin SR Antitrust Litigation (E.D. Pa.)
Gustafson Gluek played an integral role in this pharmaceutical class action. The
firm represented direct purchasers of Wellbutrin SR, who alleged that defendant
GlaxoSmithKline defrauded the U.S. Patent and Trademark Office and filed
sham lawsuits against its competitors, which delayed the availability of the
generic version of Wellbutrin SR to consumers. As a result of this delay, Plaintiffs
alleged that they paid more for Wellbutrin SR than they would have if the
generic version had been available to them. Gustafson Gluek was actively
involved in the investigation, discovery, motion practice, and trial preparation
for this case and served an essential role in the mediation that resulted in a $49
million settlement to the direct purchasers.




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Practice Areas and Current Cases

ANTITRUST LITIGATION
Gustafson Gluek PLLC is devoted to the prosecution of antitrust violations. We
have litigated antitrust cases in federal and state courts across the United States.

Federal and state antitrust laws are designed to protect and promote
competition among businesses by prohibiting price fixing and other forms of
anticompetitive conduct. Violations can range from straight forward
agreements among competitors to raise prices above competitive prices to
complicated schemes that affect relationships between different levels of a
market.

Ongoing prosecution of these illegal schemes helps protect the average
consumer from being forced to pay more than they should for everyday goods.
Below are some representative antitrust cases that Gustafson Gluek is currently
involved in:

In re Google Digital Publisher Antitrust Litigation (N.D. Cal.)
Gustafson Gluek has been appointed to the Leadership Committee
representing a class of publishers who sold digital advertising space via Google.
Plaintiffs allege that Google’s anticompetitive monopolistic practices led to
digital publishers being paid less for their advertising space than they otherwise
would have been paid in a competitive market.


In re Broiler Chicken Antitrust Litigation (N.D. Ill.)
Gustafson Gluek is part of the Co-Lead counsel team for class of commercial
indirect purchasers. The case alleges chicken suppliers colluded to artificially
restrict the supply and raise the price of chicken in the United States. As part of
the co-lead counsel team, Gustafson Gluek helped successfully defeated
defendants’ motion to dismiss. This case is on-going.




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In re Pork Antitrust Litigation (D. Minn.)
Gustafson Gluek has been appointed as Interim Co-Lead counsel representing
a class of consumers who purchased pork products. Plaintiffs allege pork
producers, who control over 80% of the wholesale pork market in the U.S.,
conspired to fix prices by, among other things, agreeing to restrict production to
artificially increase prices. Having survived motions to dismiss, discovery is now in
progress.


In re Hard Disk Drive Suspension Assemblies Antitrust Litigation (N.D. Cal.)
Gustafson Gluek represents a class of indirect purchaser end user plaintiffs who
purchased products containing Hard Disk Drive (HDD) suspension assemblies.
Plaintiffs allege that the defendant HDD suspension assemblies manufacturers
unlawfully conspired to fix the prices of the HDD suspension assemblies and
manufactured and sold the component worldwide and into the United States at
an inflated price.


In re Disposable Contact Lens Antitrust Litigation (M.D. Fla.)
Gustafson Gluek represents a class of individuals who purchased contact lenses
made by Alcon, CooperVision, Bausch + Lomb, and Johnson & Johnson.
Plaintiffs allege that these manufacturers unlawfully conspired to impose
minimum resale price agreements on retailers, which restricts retailers’ ability to
lower prices to consumers. The class has been certified and discovery is
ongoing.


In re Blue Cross Blue Shield Antitrust Litigation (N.D. Ala.)
Gustafson Gluek has been appointed as members of the Damages and
Litigation Committees representing a class of subscribers of Blue Cross Blue Shield
Alabama. Plaintiffs allege antitrust violations by the defendant. Plaintiffs’ counsel
recently reached a settlement for $2.7 billion on behalf of the class.




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In re Interior Molded Doors Indirect Purchaser Antitrust Litigation (E.D. Va.)
Gustafson Gluek has been appointed as Interim Co-Lead Counsel with two
other firms representing a class of indirect purchasers of interior molded doors.
Plaintiffs allege that two of the country’s largest interior molded door
manufacturers conspired to inflate prices in the market. Plaintiffs’ counsel
recently settled the case with defendants for $19.5 million on behalf of the class.


In re Dealer Management Systems Antitrust Litigation (N.D. Ill.)
Gustafson Gluek has been appointed as a member of the Steering Committee
representing a class of car dealerships. Plaintiffs allege that defendants
unlawfully entered into an agreement that reduced competition and increased
prices in the market for Dealer Management Systems (“DMS”) and data
integration services related to DMS. Plaintiffs have reached a settlement with
one defendant but continue to litigate against the remaining defendants.


In re DPP Beef Litigation (D. Minn.)
Gustafson Gluek has been appointed Co-Lead Counsel for a proposed class of
direct purchasers of beef. Plaintiffs allege that Cargill JBS, Tyson and National
Beef Packing Company conspired to fix and maintain the price of beef in
violation of the federal antitrust laws resulting in supracompetitive prices for
beef. This litigation is ongoing.




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APPELLATE ADVOCACY
Our attorneys are just the experienced, seasoned appellate advocates that can
assist in getting the right result. Because we have tried complex cases to jury
and bench verdicts, we understand how important the trial court is to a
successful appeal.

Gustafson Gluek’s appellate attorneys draw from our years of experience
practicing before courts at every level of the state and federal system. We
have successfully briefed and argued a variety of complex class and non-class
cases and been called upon by peers to assist in the appellate process for their
clients as well. In addition, we have frequently written briefs and appeared as
amicus curiae (friend of the court) on behalf of several professional
organizations.

Our appellate attorneys are admitted to practice in the following appellate
courts:

• First Circuit Court of Appeals

• Third Circuit Court of Appeals

• Fifth Circuit Court of Appeals

• Eighth Circuit Court of Appeals

• Ninth Circuit Court of Appeals

• Eleventh Circuit Court of Appeals

• Minnesota State Court of Appeals

• Minnesota Supreme Court

• United States Supreme Court




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Some of the cases we have argued before the Eighth Circuit include:

• Karsjens, et al. v. Piper, et al.

• LaBrier v. State Farm Fire and Casualty Co.

• MN Senior Foundation, et al. v. United States, et al.

• Wallace James Beaulieu v. State of Minnesota

• Anna Bryant, et al. v. Medtronic, Inc., et al.

• Jeanette Rick, et al. v. Wyeth, Inc., et al.

• Dryer, et al. v. National Football League

• Smith v. Fairview Ridges Hospital

• Morgan Larson v. Ferrellgas Partners




CONSTITUTIONAL LITIGATION
Gustafson Gluek is devoted to the protection of the constitutional liberties of all
individuals. We have litigated several cases at the federal court level on matters
involving civil commitment, police brutality, prisoner mistreatment and
government misuse of private property. Below are some representative cases
involving constitutional claims that Gustafson Gluek is currently litigating or has
recently litigated:


Doe v. Hanson et al. (Minn.)
Gustafson Gluek represents a former juvenile resident of Minnesota Correctional
Facility – Red Wing who alleges he was sexually assaulted by a staff member
over the course of several years. Despite alleged knowledge of the risk of the
abuse to the juvenile, the Correctional Facility did nothing to protect the
juvenile. A settlement was reached in 2021, which included significant financial
compensation for the victim, required additional training for the MCF-Red Wing
staff, and 3 policy changes at MCF-Red Wing.




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Carr v. City of Robbinsdale (Minn.)
Gustafson Gluek represented an individual whose car was seized by the
Robbinsdale police. Our client was a passenger in her car, when the driver was
pulled over and arrested for driving under the influence. The officer seized the
car pursuant to Minnesota’s civil forfeiture statute. Gustafson Gluek filed a
complaint challenging the constitutionality of the Minnesota civil forfeiture laws.
However, prior to any meaningful litigation, the parties were able to settle the
case.


Khottavongsa v. City of Brooklyn Center (D. Minn.)
Gustafson Gluek represented the family of a man killed by Brooklyn Center
police in 2015. Gustafson Gluek brought section 1983 claims, alleging the officers
used excessive force and ignored his medical needs, and that the City of
Brooklyn Center failed to train and supervise the officers. Defendant’s motion for
summary judgment was largely defeated. The case settled prior to trial.


Hall v. State of Minnesota (Minn.)
Gustafson Gluek successfully litigated a case against the State of Minnesota
regarding the State’s Unclaimed Property Act. On behalf of Plaintiffs, the Firm
achieved a ruling that a portion of the State’s Unclaimed Property Act was
unconstitutional and, as a result, the statute was changed, and property
returned to individuals.




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Karsjens, et al. v. Jesson, et al. (D. Minn.)
Gustafson Gluek represents a class of Minnesota’s civilly committed sex
offenders on a pro bono basis through the Federal Bar Association’s Pro Se
Project. Gustafson Gluek has been litigating this case since 2012, alleging that
Minnesota’s civil commitment of sex offenders is unconstitutional and denies the
due process rights of the class. After a six-week trial in February and March of
2015, Minnesota District Court Judge Donovan Frank found in favor of the class,
ruling that the Minnesota Sex Offender Program (MSOP) is unconstitutional, and
ordering that extensive changes be made to the program. That order was
reversed on appeal. Gustafson Gluek continues to vigorously advocate for the
class on the remaining claims and pursue a resolution that will provide
constitutional protections to those civilly committed to the MSOP.


Jihad v. Fabian (D. Minn.)
Gustafson Gluek represented an individual bringing suit against the State of
Minnesota, the Department of Corrections and others alleging violations of his
religious rights relating to his incarcerations in the Minnesota Corrections Facility
in Stillwater. Gustafson Gluek was able to secure a settlement for the plaintiff
which involved a change in the Department of Corrections policy to provide
plaintiff with halal-certified meals at the correction facilities.


Samaha, et al. v. City of Minneapolis, et al. (D. Minn.)
Gustafson Gluek is representing several peaceful protestors who were subject to
excessive force at the George Floyd protests in May 2020. While peacefully
protesting, the plaintiffs were subjected to tear gas, pepper spray and other
violence. The case is a class action seeking declaratory and injunctive relief,
including a judgment that the City of Minneapolis has a custom, policy and
practice of encouraging and allowing excessive force. The case is on-going.




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CONSUMER PROTECTION LITIGATION
Gustafson Gluek PLLC has led class action lawsuits on behalf of consumers
alleging consumer protection violations or deceptive trade practices. These
cases involve claims related to the false marketing of life insurance, defective
hardware in consumer computers, misleading air compressor labeling, and
rental car overcharges. Below are some representative cases involving
consumer protection claims that Gustafson Gluek is currently litigating:


Big Heart Pet Brands Litigation (N.D. Cal.)
Gustafson Gluek represents a class of individuals who purchased Gravy Train
dog food. Plaintiffs allege that the defendant’s packages were misleading due
to the presence of the euthanasia drug, pentobarbital, found in the dog food at
issue.


Champion PetFoods Litigation (multi-state actions)
Gustafson Gluek represents consumers who purchased Orijens and/or Acana
brands of Champion PetFoods. Plaintiffs have brought cases in several states,
including California, Minnesota, Illinois, Colorado, Wisconsin, Massachusetts and
Iowa alleging that Champion PetFoods makes misrepresentations and omissions
on their packaging of these dog foods.


Hudock v. LG Electronics USA, Inc. (D. Minn.)
Gustafson Gluek represents a class of consumers who purchased certain LG LED
televisions during the relevant time period. Plaintiffs bring this action against LG
Electronics USA, Inc. and Best Buy, alleging that certain LG LED televisions were
marketed and advertised with a misleading refresh rate specification. The
district court has granted Plaintiffs’ motion to certify a nationwide class of
purchasers of these televisions.




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Thomas et al. v. Beech-Nut Nutrition Co. (N.D.N.Y.); McKeon et al. v. Plum, PBC
and Plum, Inc. (N.D. Cal.); McKeon et al. v. Hain Celestial Group, (E.D.N.Y.);
Hampton et al. v. Nuture, Inc. (S.D.N.Y.)
Gustafson Gluek represents proposed nationwide classes of consumers that
purchased Beech-Nut, Plum Organics, Earth’s Best Organics, and HappyBaby or
HappyTot baby foods. Plaintiffs allege that these baby foods were deceptively
marketed and sold because they contain undisclosed levels of heavy metals,
including lead, cadmium, mercury and arsenic.


DATA BREACH LITIGATION
Data breaches on the internet and at point-of-sale terminals are an increasing
concern for consumers and businesses alike. Data breaches can result in the
loss of payment card data, as well as personally identifiable information. This
can result in financial loss, identity theft, and privacy concerns.

Gustafson Gluek represents consumers and financial institutions in class actions
seeking compensation, changes to data practices, and other relief for injured
parties under federal and state law. Below are some representative cases that
Gustafson Gluek is currently litigating or has recently litigated:

Marriott International, Inc., Customer Data Security Breach Litigation (D. Md.)
Gustafson Gluek represents a class of consumers whose personally identifiable
information, including passport information, customers' names, mailing address,
and payment card numbers, as well as other highly-sensitive personal data, was
compromised as the result of Marriott’s and its merger partner, Starwood Hotels
& Resort Worldwide, LLC's deficient data security practices. Many of these
consumers have lost time and money responding to the data breach, and they
face an ongoing risk of identity theft, identity fraud, or other harm.




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In re Equifax Inc. Customer Data Security Breach Litigation (N.D. Ga.)
Gustafson Gluek represented Plaintiffs whose personal information was
impacted as the result of the Equifax’s deficient data security practices. Plaintiffs
reached a settlement where Equifax agreed to pay $380 million towards the
fund for class benefits and an additional $125 million for out-of-pocket losses in
addition to credit monitoring and identity restoration services. This settlement
was approved by the court in January 2020.


Landwehr v. AOL Inc. (E.D. Va.)
Gustafson Gluek served as class counsel in this lawsuit, alleging that AOL made
available for download its members’ search history data, which violated these
AOL members’ right to privacy under the Federal Electronic Communications
Privacy Act. Plaintiffs reached a settlement with AOL that made $5 million
available to pay the claims of class members whose search data was made
available for download by AOL.


The Home Depot, Inc., Customer Data Security Breach Litigation (N.D. Ga.)
Gustafson Gluek represented credit unions and a class of financial institutions
whose card members’ payment data was compromised as the result of Home
Depot’s deficient data security practices. These financial institutions lost time
and money responding to the data breach. Plaintiffs reached a settlement
agreement with Home Depot for $27.25 million for the class members.


Greater Chautauqua Federal Credit Union v. Kmart Corporation (N.D. Ill.)
Gustafson Gluek served on the court-appointed Plaintiffs’ Steering Committee
representing a class of financial institutions whose card members’ payment data
was compromised as a result of Kmart’s deficient data security practices. These
financial institutions lost time and money responding to the data breach.
Plaintiffs reached a $5.2 million settlement with K-Mart for the class.




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Experian Data Breach Litigation (C.D. Cal.)
Gustafson Gluek represented a class of consumers whose personally identifiable
information, including Social Security numbers and other highly-sensitive
personal data, was compromised as the result of Experian’s deficient data
security practices. Many of these consumers lost time and money responding to
the data breach, and they face an ongoing risk of identity theft, identity fraud,
or other harm. Plaintiffs reached a $22 million settlement and as a part of the
settlement, defendants also agreed and have begun undertaking certain
remedial measures and enhanced security measures, which they will continue
to implement, valued at over $11.7 million.


INTELLECTUAL PROPERTY & PATENT MISUSE LITIGATION
Gustafson Gluek represents companies or individuals in asserting or protecting
their intellectual property or publicity rights. They have represented patent
holders against companies that are infringing the patent rights of our clients. For
example, Gustafson Gluek has assisted in the prosecution of patent infringement
claims involving medical devices and technology used in printing machines.
They have also represented individuals whose publicity rights have been
infringed.

Sometimes, however, a patent holder will attempt to abuse its exclusive rights by
illegally obtaining or extending a patent. Gustafson Gluek has extensive
experience in litigating cases alleging patent misuse. Often this type of patent
misuse is found in the pharmaceutical industry, where a brand name
pharmaceutical manufacturer will attempt to keep generic drugs off the market
by unlawfully extending the life of its patent by committing fraud on the patent
office or bringing sham litigation against generic manufacturers for patent
infringement. The attorneys at Gustafson Gluek are actively involved in cases
involving claims of patent abuse. Below are some representative patent misuse
cases that Gustafson Gluek is currently litigating:




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In re Remicade Antitrust Litigation (E.D. Pa.)
Gustafson Gluek represents a proposed class of End-Payor Plaintiffs in this
antitrust class action. Plaintiffs allege anticompetitive conduct by defendants
Johnson & Johnson and Jassen Biotech, Inc. in the biosimilars market. Discovery
is ongoing in this litigation.


In re Restasis (Cyclosporine Opthalmic Emulsion) Antitrust Litigation (E.D.N.Y.)
Gustafson Gluek represents a proposed class of End-Payor Plaintiffs in this
antitrust class action. Plaintiffs allege that defendant Allergan engaged in a
multifaceted conspiracy to delay generic competition for its brand-name drug
Restasis. Motions for class certification in this matter are pending.


In re Opana ER Antitrust Litigation (N.D. Ill.)
Gustafson Gluek represents a proposed class of End-Payor Plaintiffs in this
antitrust class action. Plaintiffs allege that defendants, Endo Pharmaceuticals
Inc., Endo Health Solutions Inc., Penwest Pharmaceuticals Co. (collectively,
“Endo”), and Impax Laboratories, Inc., engaged in anticompetitive conduct to
keep generic alternatives to Opana ER off the market.




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PRODUCTS LIABILITY LITIGATION
Sometimes, consumers are injured by the products they purchase. Products
liability is an area of law that seeks to hold manufacturers of products that have
injured individuals responsible for the injuries their defective products caused.
These defective products range from medical devices to vehicles to diapers
and many others. Gustafson Gluek PLLC represents consumers against the
manufacturers of these defective products and has been able to achieve
sizable recoveries on behalf of injured individuals. Below are some
representative product liability cases that Gustafson Gluek is currently litigating:


Graves v. 3M Co. (D. Minn. / Minn. State Court)
Gustafson Gluek represents civilians who purchased and used the 3M/Aero
manufactured dual-sided earplugs for use in both job and recreational
endeavors and who have since experienced hearing loss and tinnitus. Plaintiffs
allege that the Defendant failed to properly instruct Plaintiffs on how to use
these devices.


In re FCA US LLC Monostable Electronic Gearshift Litigation (E.D. Mich.)
Gustafson Gluek serves on the Plaintiffs’ Steering Committee and represents
individuals who owned or leased 2012-2014 Dodge Chargers, 2014-2015 Chrysler
300s, and 2014-2015 Jeep Grand Cherokees. Plaintiffs allege that these vehicles
contain defective gearshifts, which allow vehicles to roll away out of the park
position. Issue classes have been conditionally certified.


Krautkramer et al., v. Yamaha Motor Corporation, U.S.A. (D. Minn.)
Gustafson Gluek represents a proposed class of individuals who own or lease a
range of Yamaha off-road vehicles. Plaintiffs allege that these vehicles are
subject to overheating and engine failure due to a defect in the vehicle
engines.




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Reynolds, et al., v. FCA US, LLC (E.D. Mich.)
Gustafson Gluek represents a proposed class of individuals who owned or
leased 2018-2020 Jeep Wrangler and 2020 Jeep Gladiator vehicles. Plaintiffs
allege that these vehicles contain a defective front axle suspension system that
causes the steering wheel to shake violently while operating at highway speeds.


Rice v. Electrolux Home Prod., Inc. (M.D. Pa.); Gorczynski v. Electrolux Home
Products, Inc. (D.N.J.)
Gustafson Gluek represents classes of individuals who own an Electrolux
microwave with a stainless steel handles. Plaintiffs in these cases allege that
these certain microwaves, which were sold to be placed over a cooktop
surface, have stainless steel handles that can heat to unsafe temperatures
when the cooktop below is in use.


Woronko v. General Motors, LLC (E.D. Mich.)
Gustafson Gluek represents a proposed class of individuals who owned or
leased 2015-2016 Chevrolet Colorado and GMC Canyon vehicles. Plaintiffs
allege that these vehicles are equipped with a defective electrical connection
that causes the vehicles to lose power steering while driving under a variety of
conditions. This case is in the initial pleading stage.


SECURITIES LITIGATION
Federal laws allow shareholders the right to bring a private action to recover
damages the shareholder sustained as a result of securities fraud. Gustafson
Gluek PLLC has worked with institutional investors and has been appointed
Liaison Counsel in high profile cases in which significant recoveries for the
shareholders were achieved. Below are some representative product liability
cases that Gustafson Gluek is currently litigating:

Luis v. RBC Capital Markets, LLC (D. Minn.)
Gustafson Gluek represents investors who were improperly sold high-risk reverse
convertible notes. These investments triggered devastating financial losses for
individuals with conservative investment goals.


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Ochoa et al. v. Pershing, LLC (N.D. Texas)
Gustafson Gluek represents investors who were defrauded by Pershing, LLC as a
result of Pershing’s role in facilitating and profiting from the R. Allen Stanford
Ponzi scheme.


Walsh, et al., v. Buchholz, et al. (D. Minn.)
Gustafson Gluek represents individuals who invested in a company that
developed a novel dental anesthetic delivery system. Those individuals were
defrauded when the officers and directors orchestrated a sale of the company
that grossly diluted the investors’ financial interest in the company.




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Pro Bono & Community
At Gustafson Gluek PLLC, we recognize that those who provide legal services
are in a unique position to assist others. We strongly believe in giving back to the
community in which we are allowed to practice by providing legal services to
those in need. The law can make an immense difference in an individual’s life;
however, effectively navigating the legal system is not an easy task. Providing
pro bono legal services promotes access to justice, by giving counsel to those
who otherwise would not have it.

In keeping with this commitment to providing representation to those who
otherwise do not have access to representation, Dan Gustafson was one of four
lawyers who helped develop and implement the Minnesota Pro Se Project for
the Minnesota Chapter of the Federal Bar Association. Because the Federal Bar
Association did not have funding for the project, Gustafson Gluek volunteered
to administer the Project during its inaugural year, starting in May 2009, devoting
extensive resources to matching pro se litigants with volunteer counsel. In 2010,
Chief Judge Michael Davis of the District of Minnesota awarded Dan Gustafson
a Distinguished Pro Bono Service Award for “rising to the Court’s challenge of
bringing the idea of the Pro Se Project to fruition and nurturing the Project into its
current form.” Gustafson Gluek has continued representing clients through
the Pro Se Project since that time.




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Gustafson Gluek Personnel Support the Following
Volunteer Organizations
• American Antitrust Institute
• American Bar Association
• Animal Legal Defense Fund
• Association of Legal Administrators
• Cookie Cart
• COSAL
• Diverse Daisies
• Division of Indian Work
• Domestic Abuse Project
• Federal Bar Association
• Federal Pro Se Project
• Hennepin County Bar Association
• Infinity Project
• Minnesota Paralegal Association
• Minnesota State Bar Association
• Minnesota Women Lawyers
• MinnPost
• MN Chapter of the Federal Bar Association
• MN Urban Debate League
• Page Education Foundation
• Southern MN Regional Legal Services
• The Fund For Legal Aid Society
• University of Minnesota Mood Courts
• University of St. Thomas Mentor
• Externship Program
• Volunteer Lawyers Network
• With Purpose




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                            Our Professionals




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DANIEL E. GUSTAFSON

Daniel E. Gustafson is a founding member of Gustafson Gluek PLLC. Mr.
Gustafson has dedicated his career to helping individuals or small businesses
litigate against large corporation for various antitrust, product defect or
consumer fraud violations. He has also strived to use his
legal skills to represent those who cannot otherwise afford
a lawyer. Mr. Gustafson served as a volunteer public
defender in federal court, he was involved in helping
develop the Federal Bar Association’s Pro Se Project,
which coordinates volunteer representation for pro se
litigants, and he has spent thousands of hours
representing individuals on a pro bono basis. In 2019, he
was given a lifetime achievement award by the
Minnesota Federal Bar Association for his work on the Pro
Se Project.
Mr. Gustafson is admitted to practice in the United States
District Court for the District of Minnesota, the United
States District Court for the District of North Dakota, the
United States District Court for the Eastern District of Michigan, the United States
District Court for the Western District of Michigan, the United States District Court
for the Eastern District of Wisconsin, the United States Courts of Appeals for the
First, Third, Fifth, Sixth, Eighth and Eleventh Circuits, the Minnesota Supreme Court
and in the United States Supreme Court.

Mr. Gustafson was an adjunct professor at the University of Minnesota Law School
for many years, teaching a seminar long course on the “Fundamentals of Pretrial
Litigation.”

Mr. Gustafson is a past president of the Federal Bar Association, Minnesota
Chapter (2002-2003) and served in various capacities in the Federal Bar
Association over the last several years. He was the Vice-Chair of the 2003 Eighth
Circuit Judicial Conference held during July 2003 in Minneapolis (Judge Diana E.



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Murphy was the Chair of the Conference). He is a member of the Hennepin
County, Minnesota, Federal, and American Bar Associations.

                                                                 In September 2011, Mr.
                                                                 Gustafson testified before the
   At A Glance
                                                                 House Committee on the
   Education                                                     Judiciary, Subcommittee on
   • University of Minnesota Law School - J.D., cum
      laude (1989)                                               Intellectual Property,
   • University of North Dakota - B.S., magna cum                Competition and the Internet
     laude (1986)
                                                                 regarding the proposed merger
   Court Admissions                                              between Express Scripts and
   • Minnesota
                                                                 Medco. Mr. Gustafson also
   • U.S. District Court for the District of Minnesota
   • U.S. Court of Appeals for the First, Second,                testified before the United States
     Third, Fifth, Sixth, Eighth, Tenth and Eleventh             Congressional Commission on
      Circuits
                                                                 Antitrust Modernization in June
   • U.S. Supreme Court
                                                                 2005. In addition to
   Recognition
                                                                 congressional testimonies, Mr.
   • Lifetime Achievement Award from the District of
     Minnesota Bar (2019)                                        Gustafson has authored or
   • Selected as a Minnesota Super Lawyer by Super               presented numerous seminars
     Lawyers in the field of antitrust litigation (2001 -
                                                                 and continuing legal education
      2021)
   • Selected as an Attorney of the Year (2010, 2013,            pieces on various topics related
     2017) by Minnesota Lawyer                                   to class action litigation, antitrust,
   • Ranked in the Top 100 Minnesota Lawyers by
                                                                 consumer protection or legal
     Super Lawyers (2012-2019)
   • Recognized as a North Star Lawyer by the                    advocacy.
     Minnesota State Bar Association (2012, 2013,
      2015, 2018)                                                Mr. Gustafson served as a law
   • Received the American Antitrust Institute
                                                                 clerk to the Honorable Diana E.
     Meritorious Service Award (2014)
   • Director of The Fund for Legal Aid Board                    Murphy, United States District
     (2014-2018)                                                 Judge for the District of
   • Infinity Project Board Member (2015)
                                                                 Minnesota (1989-91). Following
   • MWL President’s Leadership Circle (2013-2014)
   • UST School of Law Mentor (2014-2015)
                                                                 his judicial clerkship, Mr.
   • AAI Annual Private Enforcement Award and                    Gustafson worked in the fields of
      Conference committee member (2014- 2016)
                                                                 antitrust and consumer
                                                                 protection class action litigation.
                                                                 In May 2003, Mr. Gustafson

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formed Gustafson Gluek PLLC where he continues to practice antitrust and
consumer protection class action law.

Mr. Gustafson has been named Lead or Co-Lead Counsel, Co-Lead Trial
Counsel, or Settlement counsel in many cases over the years, including:

    •    In re Syngenta Litig. (Minn.)
    •    In re Broiler Chicken Antitrust Litig. (N. D. Ill)
    •    In re Surescripts Antitrust Litig. (N.D. Ill.)
    •    In re Medtronic, Inc. Sprint Fidelis Liability Litig. (D. Minn.)
    •    Precision Assocs. Inc. v. Panalpina World Transport (Holding) Ltd. (E.D.N.Y)
    •    In re Medtronic, Inc. Implantable Defibrillators Liability Litig. (D. Minn.)
    •    In re Vitamin C Antitrust Litig. (E.D.N.Y.)
    •    In re DRAM Antitrust Litig. (N.D. Cal.)
    •    The Shane Group, Inc. v. Blue Cross Blue Shield of Michigan (E.D. Mich.)
    •    Karsjens v. Jesson (D. Minn.)
    •    Synthes USA, LLC v. Spinal Kinetics (N.D. Cal.)
    •    KBA-Giori, North America, Inc., v. Muhlbauer, Inc. (E.D. Va.)
    •    Spine Solutions, Inc. v. Medtronic Sofamor Danek, Inc. (W.D. Tenn.)
    •    Dryer v. National Football League (D. Minn.)




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KARLA M. GLUEK

Karla M. Gluek is a founding member of Gustafson Gluek PLLC. Ms. Gluek has
been practicing in the areas of antitrust and consumer protection class action
litigation since 1995, following her clerkship to the Honorable Gary Larson, District
Judge, Fourth Judicial District of Minnesota. Since then, Ms. Gluek has spent her
career representing individuals and small businesses against large corporation
for various antitrust, product defect or consumer fraud violations.

In May 2003, Ms. Gluek joined Mr. Gustafson in
forming Gustafson Gluek PLLC. In 2020, Ms. Gluek
was elected as the Firm Manager for Gustafson
Gluek, becoming the first woman to serve in that
position at the Firm.

Throughout her law career, Ms. Gluek has also
spent thousands of hours representing individuals
on a pro bono basis as part of her commitment to
justice for all. She has served as a volunteer
attorney for the Minnesota Federal Bar
Association’s Federal Pro Se Project.

Ms. Gluek is admitted to practice in the United
States District Court for the District of Minnesota and the Eighth Circuit Court of
Appeals. She is a member of the Hennepin County, Minnesota, and Federal Bar
Associations. Ms. Gluek is also an active member of the Minnesota Women’s
Lawyers. She has been recognized several times as a North Star Lawyer for
providing at least 50 hours of pro bono legal services in a calendar year to
individuals with need. She has assisted in the representation of pro se litigants
through the Federal Bar Association’s Pro Se Project in addition to those referred
to Gustafson Gluek by other sources. She was part of the team at Gustafson
Gluek that represented a class of civilly committed sex offenders challenging
the constitutionality of Minnesota’s commitment statutes in Karsjens et al v.
Jesson (D. Minn.).


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    At A Glance
    Education:
    •   William Mitchell College of Law, cum laude, J.D. (1993)
    •   University of St. Thomas, B.A. (1990)
    Court Admissions:
    •   Minnesota State Bar
    •   U.S. District Court for the District of Minnesota
    Recognition:
    •   Selected as a Minnesota Super Lawyer by Law & Politics magazine in the eld of antitrust
        litigation (2011 – 2021)
    •   Selected as an Attorney of the Year by Minnesota Lawyer (2014, 2017)
    •   Recognized as a North Star Lawyer by the Minnesota State Bar Association (2012, 2013,
        2015, 2018)



Ms. Gluek has been designated Law & Politics magazine as a Minnesota “Super
Lawyer” from 2011-2020 and has twice been selected as one of Minnesota
Lawyer’s Attorneys of the Year.
Ms. Gluek has been actively involved in several cases in which Gustafson Gluek
is or had been appointed to leadership positions or actively involved including:

    •    In re Syngenta Litig. (Minn.)
    •    In re Medtronic, Inc. Sprint Fidelis Liability Litig. (D. Minn.)
    •    In re Medtronic, Inc. Implantable Defibrillators Liability Litig. (D. Minn.)
    •    Karsjens v. Jesson (D. Minn.)
    •    Synthes USA, LLC v. Spinal Kinetics (N.D. Cal.)
    •    KBA-Giori, North America, Inc., v. Muhlbauer, Inc. (E.D. Va.)
    •    Spine Solutions, Inc. v. Medtronic Sofamor Danek, Inc. (W.D. Tenn.)
    •    Dryer v. National Football League (D. Minn.)
    •    In re Asacol Antitrust Litig. (D. Mass.)
    •    In re Wellbutrin SR/Zyban Direct Purchaser Antitrust Litig. (E.D. Pa.)
    •    Reitman v. Champion Petfoods (C.D. Cal.)
    •    Weaver v. Champion Petfoods (E.D. Wis.)
    •    Graves v. 3M Company, et al. (Minn.)



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ABOU B. AMARA, JR.

Abou joined Gustafson Gluek PLLC as an associate in August 2021, after clerking
for Associate Justice Anne K. McKeig and Associate Justice Paul C. Thissen of
the Minnesota Supreme Court. As an
associate at the Firm, Abou will be
representing individuals and small
businesses alleging antitrust,
consumer, civil rights, and
constitutional violations in both state
and federal court. Before clerking on
the Minnesota Supreme Court, Abou
was an associate attorney at a well
respected Minneapolis law firm.

During law school, Abou was a two-time National Moot Court individual
champion—earning the “Best Oralist” award at both the 2018 William E. McGee
National Moot Court Competition on Civil Rights and the 2019 Evan A. Evans
National Moot Court Competition on Constitutional Law. Abou was also elected
by his law school classmates to serve as commencement speaker.

Before law school, Abou had an extensive career in the legislative and political
arena, including serving as a top aide to the Minnesota Speaker of the House,
Minnesota Secretary of State, and frequent TV/radio commentator and analyst
on Minnesota politics and public affairs.

In 2015, Abou was named to Twin Cities Business Magazine’s “100 Minnesotans
to Know” list for his impact in the public affairs arena and honored as a
Minnesota “Shaper of the Future” by the publication.

Abou currently serves on the board of MicroGrants, a nonprofit dedicated to
providing $1,000 grants to low-income people pursuing potential to invest in their
lives, and is a member of the leadership team of the Minnesota Association of
Black Lawyers, serving as the organization’s treasurer.



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    At A Glance
    Education
    •   Juris Doctor (JD), University of St. Thomas

    •   Master of Public Policy (MPP), University of Minnesota-Hubert H. Humphrey School of
        Public Affairs

    •   Bachelor of Arts (BA) University of Wisconsin-Eau Claire

    Court Admissions
    •   Minnesota Supreme Court (Minn.)

    •   United States District Court for the District of Minnesota (D. Minn.)




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KAITLYN L. DENNIS

Kaitlyn L. Dennis joined Gustafson Gluek PLLC as an associate in 2016. Since
joining the Firm, Ms. Dennis has been practicing in the areas of consumer
protection, product liability and antitrust litigation.

In addition to her regular practice, Ms. Dennis has assisted multiple pro se
litigants through the Federal Bar Association’s Pro Se Project and is recognized
as a North Star Lawyer for providing at least 50 hours of pro bono legal services
in a calendar year. She recently was the lead
attorney in an arbitration trial alleging workplace
discrimination on behalf of a pro bono client.
In November 2019, she was a featured speaker at
the American Antitrust Institute’s Young Lawyers
Breakfast in Washington D.C. She is an active
member of the American Bar Association, Federal
Bar Association, Minnesota Bar Association,
Minnesota Women Lawyers, and the Young
Lawyers Division of the Committee to Support the
Antitrust Laws (“COSAL”).
Ms. Dennis is admitted to the Minnesota Bar and is
admitted to practice in the United States District
Court for the District of Minnesota.

Prior to joining Gustafson Gluek, Ms. Dennis worked as a fellowship attorney at
the Equal Employment Opportunity Commission and assisted the Honorable
Arthur J. Boylan, ret., during the mediation of the bankruptcy of the Archdiocese
of St. Paul and Minneapolis.




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    At A Glance
    Education
    •   University of Minnesota Law School - J.D. (2015)

    •   Dean’s list at U of M Law School (2012–2015)

    •   Southwestern University - B.A. (2010)

    •   Managing Editor of the Minnesota Law Review

    •   Highest Grade (Book Award), Professional Responsibility: Civil Trial Law



    Recognition
    •   MSBA North Star Lawyer (2018-2019)



    Speaking Engagements
    •   American Antitrust Association, Young Lawyer’s Breakfast (November 12, 2019)
    •   Minnesota Federal Bar Association, Pro Se Project and a Pint (January 10, 2019)



Ms. Dennis has been actively involved in several cases in which Gustafson Gluek
is or had been appointed to leadership positions or actively involved including:

    •    Ehlis v. DAP Products, Inc. (D. Minn.)
    •    In re Interior Molded Doors Indirect Purchaser Antitrust Litig. (E.D. Va.)
    •    In re Equifax, Inc. Customer Data Security Breach Litig. (N.D. Ga.)
    •    FCA US LLC Monostable Electronic Gearshifts Litig. (E.D. Mich.)
    •    Kjessler v. Zaappaaz, Inc. et al. (S.D. Tex.)
    •    Fath v. American Honda Motor Co., Inc. (D. Minn.)
    •    In re Generic Pharmaceuticals Pricing Antitrust Litig. (E.D. Pa.)
    •    In re Automotive Parts Antitrust Litig. (E.D. Mich.)
    •    In re Volkswagen “Clean Diesel” Marketing Sales Practices, and Products
         Liability Litig. (N.D. Cal.)




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DAVID A. GOODWIN

David A. Goodwin is a member of Gustafson Gluek PLLC. When Mr. Goodwin
joined the Firm in 2008, he began practicing in the areas of antitrust, securities
and consumer protection. Since then, he has represented many small
businesses and individuals in litigating their claims against some of the largest
companies in the world.

In addition, Mr. Goodwin has served as counsel to many individuals on a pro
bono basis through his work with the Minnesota Federal Court’s Pro Se Project,
which matches pro se litigants with pro bono attorneys. Through the Pro Se
Project, Mr. Goodwin has represented individuals in bringing employments
claims, constitutional claims and other civil claims that might otherwise not have
been heard.

Mr. Goodwin is admitted to practice
in the Minnesota Bar and is admitted
to practice in the United States
District Court for the District of
Minnesota.

Mr. Goodwin is active in the Federal
Bar Association on the national level
as well as with the Minnesota
Chapter. He has served as a National Director of the FBA. He is also a past Chair
of the Younger Lawyers Division. Currently, he is an Eight Circuit Vice President.
David is also a Director of the Minnesota Chapter of the FBA, where he serves as
the FBA Liaison for the Pro Se Project. Mr. Goodwin is also active with the
Minnesota State Bar Association, where he has served as a Co-Chair of the
Consumer Litigation Section.




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    At A Glance
    Education
    •   DePaul University College of Law - J.D. (2006)

    •   University of Wisconsin - B.A. (2001)

    Recognition
    •   Minnesota “Rising Star” (2013-2018)

    •   MSBA North Star Lawyer (2012-2016, 2018)



Mr. Goodwin has been actively involved in several cases in which Gustafson
Gluek is or had been appointed to leadership positions or actively involved
including:

    • Krukas et al. v. AARP, Inc., et al. (D.D.C.)
    • Salmons v. National Railroad Passenger Corp., d/b/a AMTRAK (D.D.C.)
    • FCA US LLC Monostable Electronic Gearshifts Litig. (E.D. Mich.)
    • Krautkramer v. Yamaha Motor Corporation, USA (D. Minn.)
    • Reynolds, et al., v. FCA US, LLC (E.D. Mi.)
    • Gisairo v. Lenovo (United States) Inc. (D. Minn.)
    • Luis, et al., v. RBC Capital Markets, LLC (D. Minn.)
    • Kottemann Orthodontics, P.L.L.C. v. Delta Dental Plans Association, et al.
      (D. Minn.)
    • In re: Dealer Management Systems Antitrust Litig. (N.D. Ill.)
    • Karsjens et al. v. Jesson (D. Minn.)
    • In re: National Prescription Op
    •    Phillips v. Caliber Home Loans (D. Minn.)
    • Woronko v. General Motors, LLC (E.D. Mich.)
    • Dryer et al. v. Nat’l Football League (D. Minn.)
    • National Hockey League Players’ Concussion Injury Litig. (D. Minn.)
    • In re Aluminum Warehousing Antitrust Litig. (S.D.N.Y.)




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DANIEL C. HEDLUND

Daniel C. Hedlund is a member of Gustafson Gluek PLLC, having joined the Firm
in 2006. Throughout his legal career, Mr. Hedlund has practiced in the areas of
antitrust, securities fraud, and consumer protection, and, in 2021, Mr. Hedlund
was appointed to Co-Chair the Firm’s antitrust litigation team.

Mr. Hedlund is admitted to practice in the United States District Court for the
District of Minnesota, the Eighth Circuit Court of Appeals, the Second Circuit
Court of Appeals, and in Minnesota
State Court. He is a member of the
Federal, American, Minnesota, and
Hennepin County Bar associations.
Mr. Hedlund is active in the
Minnesota Chapter of the Federal
Bar Association (FBA), currently
serving as Co-Vice President for the
Eighth Circuit. He has previously
served in several roles for the
Minnesota Chapter including: Co-
Vice President, Legal Education; Co-Vice President, Special Events; Co-Vice
President, Monthly Meetings; Secretary; and Liaison between the FBA and the
Minnesota State Bar Association. He recently served as Chairman for the
Antitrust Section of the Minnesota State Bar Association (MSBA), Secretary for the
MSBA Consumer Litigation Section, and is past President of the Committee to
Support Antitrust Laws.

In addition to presenting at numerous CLEs, Mr. Hedlund has testified multiple
times before the Minnesota legislature on competition law, and before the
Federal Rules Committee. He is a co-author of the “Plaintiff Overview” in Private
Antitrust Litigation 2015 – Getting the Deal Through, and a contributor to
Concurrent Antitrust Criminal and Civil Procedure 2013 – American Bar
Association.




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                                                                 In 2013-2020, he has been
    At A Glance                                                  designated as a Minnesota
    Education                                                    “Super Lawyer,” in the field of
    •   University of Minnesota Law School - J.D., cum
                                                                 antitrust law. He was also
        laude (1995)
                                                                 ranked in the Top 100
    •   Note and Comment Editor, member of
                                                                 Minnesota Lawyers by Super
        Minnesota Journal of Global Trade (1993-1995)
                                                                 Lawyers in 2015 and
    •   Carleton College - B.A. (1989)
                                                                 2017-2020. Mr. Hedlund has
    Recognition
                                                                 served as a volunteer
    •   Minnesota “Super Lawyer” (2013-2021)
                                                                 attorney for the Minnesota
    •   Top 100 MN “Super Lawyer” (2015, 2017-2020)              Federal Bar Association’s
    •   Minnesota District Court’s Distinguished Pro             Federal Pro Se Project and is
        Bono Service Award (2011)
                                                                 the recipient of the
    •   Recipient of the Federal Bar Association’s               Minnesota District Court’s
        John T. Stewart, Jr. Memorial Fund Writing
                                                                 Distinguished Pro Bono
        Award (1994)
                                                                 Service Award in 2011.
    Publications
    •   Co-Authored “Plaintiff Overview” in Private
                                                                 Mr. Hedlund served as a law
        Antitrust Litigation 2015 – Getting the Deal
        Through                                                  clerk on the Minnesota Court

    •   Contributor to Concurrent Antitrust Criminal
                                                                 of Appeals (1997) and in the
        and Civil Procedure 2013 – American Bar                  Fourth Judicial District of
        Association                                              Minnesota (1995-1996).

                                                                 Mr. Hedlund has been
actively involved in several cases in which Gustafson Gluek is or had been
appointed to leadership positions or actively involved including:


    •    In re Broiler Chicken Antitrust Litig. (N.D. Ill.)
    •    In re Interior Molded Doors Indirect Purchaser Antitrust Litig. (E.D. Va.)
    •    In re Pork Antitrust Litig. (D. Minn.)
    •    Bhatia v. 3M Co. (D. Minn.)
    •    In re Dealer Management Systems Antitrust Litig. (N.D. Ill.)
    •    Kleen Prods. v. Intl. Paper (Containerboard Antitrust Litig.) (N.D. Ill.)


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    •    In re CenturyLink Sales Practices and Securities Litig. (D. Minn.)
    •    Precision Assocs., Inc. v. Panalpina World Transport (Holding) Ltd. (E.D.N.Y.)
    •    The Shane Group, Inc. v. Blue Cross Blue Shield of Michigan (E.D. Mich.)
    •    In re Vitamin C Antitrust Litig. (E.D.N.Y.)
    •    In re Blue Cross Blue Shield Antitrust Litig. (N.D. Ala.)
    •    In re DRAM Antitrust Litig.




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KIRK HULETT

Kirk Hulett joined Gustafson Gluek PLLC in 2019 and is located in our San Diego
office. Mr. Hulett has been named a San Diego Top
Rated Securities Lawyer by Super Lawyers
Magazine each year since 2010.


Mr. Hulett graduated from the University of
California San Diego, where he obtained his
undergraduate degree (1978). He then
graduated cum laude from the University of San
Diego School of Law (J.D. 1983), where he was
Managing Editor of the University of San Diego Law
Reporter. Since 1984, Mr. Hulett has specialized in
the representation of plaintiffs in securities, antitrust,
employment and consumer class actions as well as representing individuals and
businesses in complex litigation.


                                 Prior to co-founding Hulett Harper Stewart LLP in
                                 2000, Mr. Hulett was a partner in the largest national
 At A Glance                     class action firm in the country. He has testified
 Education
                                 before the California Assembly Business and
 •    University of San Diego
                                 Professions Committee on the topic of potential
      Law School, J.D.
      (1983)                     regulatory and auditor liability reforms following

 •    University of California   the Enron financial collapse and participated as a
      San Diego, B.A. (1978)     panelist on several occasions. He has been named
 Court Admissions                a San Diego Top Rated Securities Lawyer by Super
 •    California State Bar       Lawyers Magazine each year since 2010. He is
 •    U.S. Court of Appeals      admitted to all of the District Courts in California,
      for the Ninth Circuit      numerous other District Courts across the country
 •    U.S. Supreme Court         by pro hac admission, the Ninth Circuit Court of
                                 Appeals and the United States Supreme Court. Mr.
                                 Hulett joined Gustafson Gluek as a member in 2019.

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Mr. Hulett has been Lead or Co-Lead Counsel in dozens of class actions
throughout the country, including In re American Continental Corp./Lincoln
Savings & Loan Securities Litig. (D. Ariz.); In re Media Vision Technology Securities
Litig. (N.D. Cal.); Home Fed, (S.D. Cal.); and Gensia Pharmaceuticals, (S.D. Cal.).
He was Co-Lead trial counsel for a trustee in Guy F. Atkinson Co. v.
PriceWaterhouse LLP, et al. (N.D. Cal.), a liability action against
PriceWaterhouseCoopers, LLP, and represents several bankruptcy estates in
seeking recovery against officers, directors and professionals.


He also successfully represented defrauded individual investors in the Abbott et
al. v. Worldcom Co. (S.D.N.Y). He was Co-Lead Counsel the securities class
action, Enriquez v. Edward Jones & Co. L.P. (E.D. Mo.). Mr. Hulett also
represented defrauded individual investors in Bachman et al. v. A.G.
Edwards (Circuit Ct. of St. Louis) for breach of fiduciary duty. He represented an
elderly individual in a Ponzi scheme case, Meyerhoff v.Gruttadaria, et al., (San
Diego Superior Court) against one of Wall Street’s most prominent investment
banks and was successful in obtaining a full recovery for the victim. He was Co-
Lead Trial Counsel in Pauma Band of Luiseno Mission Tribe v. Harrah’s Operating
Co., et al. (San Diego Superior Court) on behalf of a San Diego area based
Native American Tribe against Caesars Entertainment and Harrah’s. Mr. Hulett
has most recently been involved in representing victims of an antitrust
conspiracy among the three largest suppliers of canned tuna in the world in In
Re Packaged Seafood Products Antitrust Litig. (S.D. Cal.).




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JASON S. KILENE

Jason Kilene is a member of Gustafson Gluek PLLC. He is a graduate of the
University of North Dakota (B.A. 1991) and a
graduate of the University of North Dakota School
of Law (J.D., with distinction, 1994).

Mr. Kilene joined Gustafson Gluek in 2003 and
became a member shortly thereafter. Prior to
joining Gustafson Gluek, Jason served as a law
clerk to the Honorable Bruce M. Van Sickle, United
States District Judge for the District of North Dakota.
Following his clerkship, Mr. Kilene represented
numerous clients in the areas of commercial and
complex litigation. Since then, Jason has
continued his practice in the areas of antitrust,
consumer protection and other complex litigation.

Mr. Kilene is admitted to the Minnesota Bar, North Dakota Bar and is admitted to
practice in the United States District Court for the District of Minnesota and the
District of North Dakota. He is also a member of the Hennepin County,
Minnesota, North Dakota, and Federal Bar Associations.

Mr. Kilene currently represents individuals and businesses harmed by
anticompetitive business practices. He was part of the trial team
that successfully recovered damages suffered by his clients due to alleged
defective software in In re J.D. Edwards World Solutions Company, (AAA) (trial
counsel for plaintiffs Quantegy and Amherst). Mr. Kilene also plays a significant
role in identification, investigation, initiation and development of complex class
action matters, along with his significant involvement with client relations.




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    At A Glance
    Education
    •   University of North Dakota School of Law - J.D., with distinction (1994)
    •   University of North Dakota - B.A. (1991)


    Court Admissions
    •   Minnesota State Bar
    •   North Dakota State Bar
    •   U.S. District Court for the District of Minnesota
    •   U.S. District Court for the District of North Dakota



Mr. Kilene has been actively involved in several cases in which Gustafson Gluek
is or had been appointed to leadership positions or actively involved including:

    •    In re Automotive Parts Antitrust Litig. (E.D. Mich.)
    •    In re Transpacific Passenger Air Transportation Antitrust Litig. (N.D. Cal.)
    •    In re Domestic Drywall Antitrust Litig. (E.D. Pa.)
    •    In re Payment Card Interchange Fee and Merchant Discount Litig.
         (E.D.N.Y.)
    •    In re Broiler Chicken Antitrust Litig. (N.D. Ill.)
    •    In re Domestic Drywall Antitrust Litig. (E.D. Penn.)
    •    In re Lithium Ion Batteries Antitrust Litig. (N.D. Cal.)
    •    In re Optical Disk Drive Antitrust Litig. (N.D. Cal.)




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MICHELLE J. LOOBY

Michelle J. Looby is a member of Gustafson Gluek
PLLC. Ms. Looby joined Gustafson Gluek in 2008
and became a member in 2015. She has recently
been named as Co-Chair of the Firm’s antitrust
litigation team.

In the courtroom, Ms. Looby has served in
leadership roles including as co-lead counsel, in
numerous class actions. Outside the courtroom, Ms.
Looby is actively involved in the legal community
serving on the Advisory Board of the American
Antitrust Institute, as the Chair of the Minnesota
State Bar Association’s Antitrust Council, and on
the executive committee of the Coalition in Support
of the Antitrust Laws. In addition, she is actively involved in the American Bar
Association, Federal Bar Association, and Minnesota Women Lawyers, previously
having served on its Board of Directors. Ms. Looby also served on Law360’s
Competition Editorial Advisory Board, a leading daily legal news and
intelligence service that reaches over one million recipients each day.

Ms. Looby is admitted to the Minnesota Bar and is admitted to practice in the
United States District Court for the District of Minnesota and the United State
District Court for the District of North Dakota.




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    At A Glance
    Education
    •   William Mitchell College of Law - J.D., magna cum laude(2007)

    •   Member of the William Mitchell Law Review (2005-2007)

    •   Assistant Editor of the William Mitchell Law Review (2006-2007)

    •   Recipient of the CALI Excellence for the Future Award

    •   University of Minnesota - B.A., with distinction (2004)

    Recognition
    •   Minnesota “Rising Star” 2014-2020

    •   Minnesota Super Lawyer - 2021

    •   AAI Award for Outstanding Antitrust Litigation Achievement by a Young Lawyer – 2015

    Publications
    •   Co-Authored Plaintiff Overview Chapter of Getting the Deal Through: Private Antitrust
        Litigation 2015



Ms. Looby has been actively involved in several cases in which Gustafson Gluek
is or had been appointed to leadership positions or actively involved including:
    • In re Interior Molded Doors Antitrust Litig. (E.D.V.A.)
    •    In re DPP Beef Litigation (D. Minn.)

    •    In re Dealer Management Systems Antitrust Litig. (N.D. Ill.)

    •    Precision Associates, Inc. et al. v. Panalpina World Transport (Holding), Ltd., et al.
         (E.D.N.Y.)

    •    Powell Prescription Center, et al. v. Surescripts, LLC et al. (N.D. Ill.)

    •    In re CenturyLink Residential Customer Billing Disputes Litig. (D. Minn.)

    •    In re Allura Fiber Cement Siding Products Liability Litig. (D.S.C.)

    •    In re Broiler Chicken Antitrust Litig. (N.D. Ill.)

    •    In re Pork Antitrust Litig. (D. Minn.)

    •    In re Generic Pharmaceuticals Pricing Antitrust Litig. (E.D. Pa.)

    •    In re Automotive Parts Antitrust Litig. (E.D. Mich.)

    •    In re Opana ER Antitrust Litig. (N.D. Ill.)

    •    In re Restatsis (Cyclosporine Opthalmic Emulsion) Antitrust Litig. (E.D.N.Y)

    •    In re Asacol Antitrust Litig. (D. Mass.)

    •    In re Celebrex (Celecoxib) Antitrust Litig. (E.D. Va.)


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MARY NIKOLAI
Mary Nikolai joined Gustafson Gluek PLLC as an associate in 2019, after clerking
for the Honorable Luis Bartolomei, District Judge, Fourth Judicial District of
Minnesota. Since joining the Firm, Ms. Nikolai has
represented individuals and classes in asserting
various consumer fraud and product defect
claims. She has also represented a number of
former members of the nationwide FLSA collective
alleging off-the-clock work in arbitrations
throughout the country.
Ms. Nikolai is admitted to the Minnesota State Bar
and the United States District Court for the District
of Minnesota. She is also an active member of the
Federal Bar Association and the Minnesota
Women’s Lawyers.

During law school, Ms. Nikolai clerked for two Twin
Cities law firms and was a judicial extern for the
Honorable Patrick Schiltz. She was also a Certified Student Attorney at the St.
Thomas Interprofessional Center for Counseling and Legal Services, where she
represented a family seeking asylum in the United States, as well as individuals at
detained master calendar and bond hearings.




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    At A Glance
    Education
    •   University of St. Thomas School of Law - J.D. (2018)
    •   DePaul University - B.A. (2012)
    •   Selected as the University of St. Thomas Clinic Student of the Year (2017-2018)




Ms. Nikolai has been actively involved in several cases in which Gustafson Gluek
is or had been appointed to leadership positions or actively involved including:

    •    Turner et al v. Chipotle Mexican Grill, Inc. (D. Colo.)
    •    Reitman v. Champion Petfoods (C.D. Cal.)
    •    Weaver v. Champion Petfoods (E.D. Wis.)
    •    In re Big Heart Pet Brands Litig. (N.D. Cal.)
    •    Krukas et al. v. AARP, Inc., et al. (D.D.C.)
    •    Bhatia v. 3M Co. (D. Minn.)
    •    Doe v. Hanson et al. (Minn.)
    •    Hudock v. LG Electronics USA, Inc. (D. Minn.)
    •    Brewster v. United States (D. Minn.)




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DANIEL J. NORDIN

Daniel J. Nordin joined Gustafson Gluek PLLC as an associate in 2011, when he
graduated from the University of Minnesota law school. Since joining the Firm,
he has practiced in the areas of antitrust and consumer protection, representing
primarily small businesses and individuals bringing
claims against large corporations. Mr. Nordin
became a member of Gustafson Gluek in 2019.

In addition to his day to day practice, Mr. Nordin
has represented several individuals through the
Minnesota Federal Bar’s Pro Se Project, a program
that matches pro se litigants with pro bono
attorneys.

Mr. Nordin has been designated as a Minnesota
“Rising Star” by Super Lawyers from 2018 – 2020.
“Super Lawyer” selection results from peer
nominations, a “blue ribbon” panel review process
and independent research on the candidates; no
more than 2.5% of lawyers in Minnesota are selected as “Rising Stars.”

Mr. Nordin is admitted to the Minnesota Bar and is admitted to practice in the
United States District Court for the District of Minnesota. He is also a member of
the Federal Bar Association and the Minnesota Bar Association.

In law school, Mr. Nordin was a Managing Editor on the Minnesota Journal of
Law, Science & Technology. He also volunteered as a Tenant Advocate with
HOME Line, a nonprofit tenant advocacy organization, through the University of
Minnesota Law School’s Public Interest Clinic.




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    At A Glance
    Education
    •   University of Minnesota Law School - J.D., magna cum laude (2011)

    •   Managing Editor on the Minnesota Journal of Law, Science & Technology

    •   University of Minnesota - B.A., with high distinction (2007)

    Court Admissions

    •   Minnesota State Bar

    •   U.S. District Court for the District of Minnesota

    •   U.S. District Court for the Eastern District of Michigan

    Recognition

    •   Named a Minnesota Rising Star by Super Lawyers (2018-2021)



Mr. Nordin has been actively involved in several cases in which Gustafson Gluek
is or had been appointed to leadership positions or actively involved including:

    •    In re Blue Cross Blue Shield Antitrust Litigation (N.D. Ala.)
    •    In re Dealer Management Systems Antitrust Litigation (N.D. Ill.)
    •    In re Packaged Seafood Products Antitrust Litig. (S.D. Cal.)
    •    In re Resistors Antitrust Litig. (N.D. Cal.)
    •    The Shane Group, Inc., et al., vs. Blue Cross Blue Shield of Michigan (E.D.
         Mich.)
    •    In re Parking Heaters Antitrust Litig. (E.D.N.Y.)
    •    In re Vitamin C Antitrust Litig. (E.D.N.Y.)
    •    In re Drywall Antitrust Litig. (E.D. Pa.)




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JOSHUA J. RISSMAN

Joshua Rissman joined Gustafson Gluek in 2010 as an associate and became a
member of the Firm in 2018. Since joining the Firm, Mr. Rissman has focused his
practice on antitrust and class action litigation. Mr. Rissman prides himself on
vigorously representing small businesses and individuals damaged by wrongful
corporate and government conduct.

In addition to his antitrust class action practice, Mr.
Rissman has brought several pieces of important
constitutional litigation involving mistreatment of
juvenile detainees and police brutality. He
currently represents a former juvenile detainee
who alleges he was abused at the Minnesota
Correctional Facility – Red Wing, and that the
administration was aware of the risks to the juvenile
and failed to protect him. Doe v. Hanson et al.
(Minn.) Mr. Rissman was also the lead attorney in a
section 1983 constitutional rights action brought on
behalf of the family of a man killed by Brooklyn
Center police officers in 2015. Khottavongsa v.
City of Brooklyn Center (D. Minn.). Mr. Rissman is also representing a class of
protestors who were unlawfully subjected to tear gas and pepper spray in the
protest following the George Floyd protest. Samaha, et al. v. City of
Minneapolis, et al (D. Minn.).

Joshua was selected a Minnesota Rising Star by Super Lawyers in the area of
antitrust litigation (2014 – 2018). He is the Treasurer of the Antitrust Section of the
Federal Bar Association, and counsel member of the Minnesota Bar Association
Antitrust Section. Joshua also participates in the Pro Se Project, representing civil
litigants in federal court who would otherwise go without representation.




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    At A Glance
    Education
    •   University of Minnesota Law School - J.D., cum laude (2010)

    •   University of Minnesota - B.A., magna cum laude (2005)

    Recognition
    •   Minnesota Super Lawyer (2021)

    •   Minnesota “Rising Star” 2014-2020



Mr. Rissman has been actively involved in several cases in which Gustafson
Gluek is or had been appointed to leadership positions or actively involved
including:

    •    In re DPP Beef Antitrust Litig. (D. Minn.)
    •    In re Containerboard Antitrust Litig. (N.D. Ill.)
    •    In re Broiler Chicken Antitrust Litig. (N.D. Ill.)
    •    In National Hockey League Players’ Concussion Injury Litig. (D. Minn.)
    •    Precision Assocs., Inc. v. Panalpina World Transport (Holding) Ltd. (E.D.N.Y.)
    •    In re Lithium Batteries Antitrust Litig. (N.D. Cal.)
    •    In re Optical Disk Drives Litig. (N.D. Cal.)
    •    In re Asacol Antitrust Litig. (D. Mass.)
    •    In re Opana Antitrust Litig. (N.D. Ill.)
    •    City of Wyoming et al. v. Procter & Gamble Company et al. (D. Minn.)




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CATHERINE K. SMITH

Catherine Sung-Yun K. Smith is a member of Gustafson Gluek PLLC. Since joining
the firm in 2007, Ms. Smith has been practicing in the
area of complex antitrust and consumer protection
litigation, particularly cases involving foreign
entities. Ms. Smith is fluent in Korean and English
and also has basic language skills in German,
Japanese, and Chinese.

Ms. Smith has been serving on the Antitrust
Enforcement Award Judging Committee for the
American Antitrust Institute since 2015. She is an
active member of Minnesota Women Lawyers and
the Federal Bar Association focusing on issues of
diversity. Ms. Smith was selected as a Minnesota
“Rising Star” from 2013-2016 by Super Lawyers.

Ms. Smith has represented many pro se litigants through the Federal Bar
Association’s Pro Se Project in addition to those referred to Gustafson Gluek by
other sources and received the Distinguished Pro Bono Service Award in 2010 for
her efforts.

She is a graduate of Korea University (B.A. 2000) and a graduate of University of
Minnesota Law School (J.D. 2005). Ms. Smith is admitted to the New York Bar,
Minnesota Bar and is admitted to practice in the United States District Court for
the District of Minnesota.




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    At A Glance
    Education
    •   University of Minnesota Law School - J.D. (2005)

    •   Director of the Civil Practice Clinic (2003-2004)

    •   Director of the William E. McGee National Civil Rights Moot Court Competition (2003-2004)

    •   Participant in the Maynard Pirsig Moot Court (2003-2004)

    •   Korea University - B.A. (2000)

    Recognition
    •   Minnesota “Rising Star” 2013-2016

    •   Distinguished Pro Bono Service Award (2010)



Ms. Smith has been actively involved in several cases in which Gustafson Gluek is
or had been appointed to leadership positions or actively involved including:

    • In re Dealer Management Systems Antitrust Litig. (N.D. Ill.)
    • In re Hard Disk Drive Suspension Assemblies Antitrust Litig. (N.D. Cal.)
    • In re Lithium Ion Batteries Antitrust Litig. (N.D. Cal.)
    • In re Optical Disk Drive Products Antitrust Litig. (N.D. Cal.)
    • In re Cathode Ray Tube (CRT) Antitrust Litig. (N.D. Cal.)
    • In re TFT-LCD (Flat Panel) Antitrust Litig. (N.D. Cal.In re Remicade Antitrust
      Litig. (E.D. Pa.)
    • Fath et al. v. Honda North America, Inc. (D. Minn.)
    • Penrod et al. v. K&N Engineering, Inc. (D. Minn.)
    • Frost et al. v. LG Corp., et al. (N.D. Cal.)
    • In re Railway Industry Employee No-Poach Antitrust Litig. (W.D. Pa.)
    • In re Korean Air Lines Co. Ltd. Antitrust Litig. (C.D. Cal.)
    • In re Automotive Parts Antitrust Litig. (E.D. Mich.)
    • In re Payment Card Interchange Fee and Merchant Discount Antitrust
      Litig. (E.D.N.Y.)
    • In re Home Depot Data Breach (N.D. Ga.)
    • In re Experian Data Breach (C.D. Cal.)




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DENNIS STEWART

Dennis Stewart joined Gustafson Gluek PLLC as a member in 2019, opening the
Firm’s San Diego office. Mr. Stewart comes to Gustafson Gluek with years of
experience in litigating antitrust, consumer and securities class and individual
actions. His cases have ranged across a wide
variety of industries including carbon fiber, credit
card fees, interchange, casino gaming, sports
broadcasting, college athletics, rental car fees,
electronics components, medical devices,
medical services, casino gaming, and defense
procurement. He is currently serving as one of the
counsel in the leadership group in In re Payment
Card Interchange Fee and Merchant Discount
Antitrust Litig. He also is one of the counsel
participating in the representation of End
Purchaser Plaintiffs in In re Packaged Seafood
Products Antitrust Litig. (S.D. Cal.), Commercial and Industrial Indirect Purchaser
Plaintiffs in In re Broiler Chicken Antitrust Litigation (N.D. Ill.) and trial counsel in In
re Disposable Contact Lens Antitrust Litigation.
                                             Between 1981 and 1985, he worked for a
                                             major San Diego law firm and engaged in
    At A Glance
                                             a general commercial litigation practice.
    Education
    •   Hofstra University - J.D.            Between 1985 and 1988, Mr. Stewart served
    Court Admissions                         as a trial attorney with the Antitrust Division
    •   California State Bar                 of the United States Department of Justice.
    •   New York State Bar (inactive)        While at the Antitrust Division, Mr. Stewart
                                             participated in investigations and trials
                                             involving alleged criminal violations of the
antitrust and related laws in waste hauling, movie exhibition, and government


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procurement and was lead trial counsel in the successful prosecution through
trial of United States v. Saft America, Inc. (D.N.J.).

Since leaving government service, Mr. Stewart has served as Lead Counsel,
Principal Counsel and/or Trial Counsel in numerous antitrust, consumer and
securities cases, both class and non-class. He was Lead Trial Counsel in Knapp v.
Ernst & Whinney (9th Cir. 1996), in which a plaintiffs’ verdict was returned in a
Rule 10b-5 securities fraud class action, and Hall v. NCAA, (D. Kan.) in which
Plaintiffs’ verdicts were returned for NCAA assistant coaches.

Mr. Stewart has also served as Co-Lead Trial Counsel, Co-Lead Counsel, Trial
Counsel or played an integral role in the following litigation:


• In re Airline Ticket Commission Antitrust Litig. (D. Minn.)
• In re Contact Lens Antitrust Litig. (M.D. Fla.)
• In re Lifescan Consumer Litig. (N.D. Cal.)
• Carbon Fiber Antitrust Litig. (C.D. Cal.)
• In re Currency Conversion Litig. (S.D.N.Y.)
• Schwartz v. Visa (Cal. Sup Ct.)
• In re Polypropolene Carpet Antitrust Litigation (N.D. Ga.)
• Shames v. Hertz Corp. (S.D. Cal.)
• In re Broadcom Securities Litig. (C.D.Cal.)




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LING S. WANG

Ling S. Wang joined Gustafson Gluek PLLC as an associate in 2017, after clerking
at the Firm throughout her years in law school.

Since joining the Firm as an associate, Ms. Wang has been practicing in the
areas of antitrust, consumer protection and product liability litigation. She
speaks English and Fuzhouhua, and has basic
language skills in Mandarin Chinese. Ms. Wang
draws on her education, knowledge of multiple
industries, and experience to advocate for a
diverse array of clients.
In addition to her regular practice, Ms. Wang has
taken on several pro bono cases. Her pro bono
practice includes representing individuals in need
through the FBA’s Pro Se Project and Volunteer
Lawyers Network.
Ms. Wang is a member of the Federal Bar
Association, Minnesota Women Lawyers, and
Minnesota Asian Pacific American Bar Association.
As part of her volunteer work, she has been
recognized as a North Star Lawyer by the Minnesota State Bar Association
(2018-2019) for providing legal services to those who otherwise could not afford
representation. Ms. Wang is admitted to the Minnesota State Bar and the U.S.
District Court for the District of Minnesota.
During law school, Ms. Wang externed with a law firm in Edina. For two years, she
provided representation to low-income persons with immigration issues as a
certified student attorney with the University’s Interprofessional Center for
Counseling and Legal Services. Ms. Wang also completed a mentor externship
program with the Honorable Steven E. Rau, Magistrate Judge, District of
Minnesota and served as a judicial extern for the Honorable Mary R. Vasaly,
District Judge, Fourth Judicial District of Minnesota.




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    At A Glance
    Education
    • St. Thomas School of Law - J.D. (2017)

    • Research Assistant, St. Thomas School of Law

    • Member of St. Thomas Law Journal

    • Augsburg University - B.A. (2013)


    Recognition
    • Minnesota “Rising Star” (2018-2021)

    • MSBA North Star Lawyer (2020)



Ms. Wang has been actively involved in several cases in which Gustafson Gluek
is or had been appointed to leadership positions or actively involved including:

    •    In re Broiler Chicken Antitrust Litig. (N.D. Ill.)
    •    In re: Remicade Antitrust Litig. (E.D. Pa.)
    •    In re: CenturyLink Sales Practices and Securities Litig. (D. Minn.)
    •    Hall v. State of Minn. (Minn. Dist. Ct.)
    •    In re: Generic Pharmaceutical Pricing Antitrust Litig. (E.D. Pa.)
    •    In re: Payment Card Interchange Fee and Merchant Discount Antitrust
         Litig. (E.D.N.Y.)
    •    In re: Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litig. (E.D.N.Y.)




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AMANDA M. WILLIAMS

Amanda M. Williams is a member of Gustafson Gluek PLLC. Ms. Williams joined
the Firm in 2005, following her clerkship with the Honorable Gordon W. Shumaker,
Minnesota Court of Appeals. Since then, she has
been actively litigating consumer protection,
product liability, and antitrust class actions.

Ms. Williams is admitted to the Minnesota Bar and is
admitted to practice in the United States District
Court for the District of Minnesota.

Ms. Williams is an active member of Minnesota
Women Lawyers and is former chair of the Law
School Scholarship Committee. She currently serves
on the Board of the Infinity project, which is an
organization whose mission is to increase the
gender diversity of the state and federal bench in
order to ensure the quality of justice in the Eighth
Circuit.

She serves as a volunteer attorney for the Minnesota Federal Bar Association’s
Federal Pro Se Project and is a recipient of the Minnesota chapter of the Federal
Bar Association’s 2011 Distinguished Pro Bono Service award.

Ms. Williams has been recognized as a “Rising Star” from 2014-2019 by Super
Lawyers and was selected as one of Minnesota Lawyer’s Attorneys of the Year in
2017.




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    At A Glance
    Education
    •   University of Minnesota Law School - J.D. (2004)

    •   Participant in the comparative international law program in Greece

    •   Participant in the Jessup International Law Moot Court

    •   University of St. Thomas - B.A., magna cum laude (2001)

    Recognition
    •   Minnesota “Rising Star” (2013-2019)

    •   Minnesota Super Lawyer (2021)

    •   MSBA North Star Lawyer (2015)

    •   Minnesota District Court’s Distinguished Pro Bono Service Award (2011)

    •   Minnesota Lawyer’s Attorneys of the Year (2017)




Ms. Williams has been actively involved in several cases in which Gustafson
Gluek is or had been appointed to leadership positions or actively involved
including:

    •    In re Medtronic, Inc., Implantable Defibrillators Prod. Liab. Litig. (D. Minn.)
    •    In re Syngenta Litig. (Minn.)
    •    In re Asacol Antitrust Litig. (D. Mass.)
    •    Ciofoletti et al. v. Securian Financial Group, Inc. (D. Minn.)
    •    Reed, et al. v. Advocate Health Care, et al. (N.D. Ill.)
    •    Graves v. 3M Company, et al. (Minn.)
    •    In re Medtronic Inc. Sprint Fidelis Leads Prod. Liab. Litig. (D. Minn.)
    •    Karsjens et al v. Jesson (D. Minn.)
    •    St. Jude (Pinsonneault v. St. Jude Medical, Inc., et al. (D. Minn.); Houlette
         v. St. Jude Medical Inc., et al. (D. Minn.); Rouse v. St. Jude Medical, Inc., et
         al. (D. Minn.))
    •    Jessica Robinson v. Jackson Hewitt, Inc., et al. (E.D. Va.)
    •    American Home Realty Network (Regional Multiple Listing Service of
         Minnesota, Inc., d/b/a NorthstarMLS v. American Home Realty Network,
         Inc., (D. Minn.); Metropolitan Regional Information Systems, Inc., v.
         American Home Realty Network, Inc. (D. Md.); Preferred Carolinas Realty,
         Inc., v. American Home Realty Network, Inc., d/b/a Neighborcity.com
         (M.D.N.C.))


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TONY STAUBER

Tony joined Gustafson Gluek as an associate in 2021 after serving as a law clerk
to the Honorable Caroline H. Lennon, District Judge, First Judicial District of
Minnesota.


As an associate at the Firm, Tony will be representing individuals who are
alleging constitutional violations, illegal price-fixing schemes, and violations of
state and federal privacy statutes, among other
things. He is passionate about pursuing claims on
behalf of clients who have been harmed by some
of the largest and most powerful corporations in
the world.


Tony is an active member of the Minnesota and
Federal bar associations and is using his legal
education to improve access to justice for all
litigants. Tony believes that all individuals and
businesses deserve their day in court.
Tony graduated from the University of Minnesota
with a B.A. in English Literature. He
graduated magna cum laude from Mitchell
Hamline School of Law. While in law school, Tony was Vice President of the
Mitchell Hamline Hovenkamp Antitrust Society, Membership Coordinator of the
Mitchell Hamline Chapter of the American Civil Liberties Union, and a student
researcher and member of the Mitchell Hamline Sex Offender Litigation and
Research Center. Additionally, Tony was the Production Editor of the Mitchell
Hamline Journal of Public Policy and Practice, where he was a published author
of an article on the topic of qualified immunity.


Tony has been an active member of the National Speech and Debate
Association and the Minnesota State High School League as a speech and
debate coach for ten years.

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    At A Glance
    Education
    •   Mitchell Hamline School of Law - J.D.

    •   University of Minnesota - B.A.




Tony Stauber has been actively involved in several cases in which Gustafson
Gluek is or had been appointed to leadership positions or actively involved
including:

• In re Local TV Advertising Antitrust Litigation (N.D. Ill.)
• Song v. Champion Petfoods (D. Minn.)
• In re Hard Disk Drive Suspension Assemblies Antitrust Litigation (N.D. Cal.)




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NOAH COZAD

Noah L. Cozad is an associate at Gustafson Gluek PLLC. Noah graduated from
the University of Minnesota Law School and clerked for the Honorable Christian
Sande of the Fourth Judicial District of Minnesota.

Noah joined Gustafson Gluek PLLC as an
associate in December 2021 after serving as a
law clerk to the Honorable Judge Christian
Sande of the Fourth Judicial District of
Minnesota. As an associate, Noah will be
representing those who are alleging antitrust,
consumer protection, constitutional, and
products liability violations. He is passionate
about promoting fair competition and a more
just economy.

Noah graduated from the University of
Minnesota with a B.A. in Political Science and
minors in German and Global Studies with an
emphasis in Human Rights. While in law school, Noah was the Note and
Comment Editor for the Minnesota Journal of Law, Science, & Technology. He
was also a trained third-party neutral with the Community Mediation Clinic
where he helped members of the Twin Cities community overcome conflict and
prevent litigation. He also clerked for a Twin Cities plaintiffs’ employment law firm
and a Minnesota state agency.

Before law school, Noah did legislative and policy work in the United States
Senate.




    At A Glance
    Education
    •   University of Minnesota - J.D. (2021)

    •   University of Minnesota - B.A. (2016)




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